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                            UNITED STATES DISTRICT COURT
 9
                         SOUTHERN DISTRICT OF CALIFORNIA
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     ROBERT MAAG, individually, and on                   Case No.: 21-cv-00031-H-LL
12
     behalf of a class of similarly situated
13   persons,                                            ORDER GRANTING PLAINTIFF’S
                                        Plaintiff,       MOTION TO REMAND
14
15   v.                                                  [Doc. No. 36.]
16   U.S. BANK, NATIONAL
     ASSOCIATION,
17
                                     Defendant.
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19         On November 9, 2020, Plaintiff Robert Maag filed a putative class action against
20   Defendant U.S. Bank, National Association in the Superior Court of California, County of
21   San Diego. (Doc. No. 1, Notice of Removal ¶ 5.) On January 8, 2021, Defendant U.S.
22   Bank, National Association removed the action from state court to the United States
23   District Court for the Southern District of California pursuant to 28 U.S.C. § 1441 on the
24   basis of jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §
25   1332(d). (Id. ¶ 1.) In the operative complaint, the third amended complaint, Plaintiff Maag
26   alleges against Defendant U.S. Bank a single claim for violation of the California
27   Consumer Privacy Act (“CCPA”), California Civil Code § 1798.150 et seq. (Doc. No. 51,
28   TAC ¶¶ 45-53.)

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 1         On September 14, 2021, Plaintiff filed a motion to remand the action to state court,
 2   arguing that the Court lacks subject matter jurisdiction over the action. (Doc. No. 36.)
 3   Specifically, Plaintiff argues that the Court lacks subject matter jurisdiction because he
 4   lacks Article III standing as to his CCPA claim, and there is no jurisdiction under CAFA.
 5   (Id. at 10-25.) On October 21, 2021, Defendant U.S. Bank filed a response stating that it
 6   does not oppose Plaintiff’s motion to remand. (Doc. No. 49.) As such, the Court grants
 7   Plaintiff’s motion to remand. The Court remands the action to the Superior Court of
 8   California, County of San Diego for lack of subject-matter jurisdiction. The Clerk is
 9   directed to close the case.
10         IT IS SO ORDERED.
11   DATED: October 25, 2021
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                                                  MARILYN L. HUFF, District Judge
13                                                UNITED STATES DISTRICT COURT
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